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8                              UNITED STATES DISTRICT COURT
9                             CENTRAL DISTRICT OF CALIFORNIA
10                                  WESTERN DIVISION
11    JOHN DUNICAN,                              Case No.: CV 17-1989-DMG (AJWx)
12               Plaintiff,                      ORDER RE JOINT STIPULATION
                                                 TO STAY ACTION PENDING
13                      v.                       COMPLETION OF ARBITRATION
                                                 [11]
14    HARLEY-DAVIDSON CREDIT CORP.,
      a Nevada Corporation; and DOES 1-10,
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                 Defendants.
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 1          Pursuant to the Joint Stipulation made by and between Plaintiff John Dunican
 2    (“Plaintiff”) and Defendant Harley-Davidson Credit Corporation (“Harley-Davidson”)
 3    through their respective counsel, and good cause appearing, this Court orders as follows:
 4          1.    WHEREAS, Plaintiff has agreed to arbitrate his claims against HDCC in
 5                connection with the Complaint filed in Case No. CV 17-1989 (the
 6                “Action”);
 7          2.    WHEREAS, the Parties agree that the Action shall be stayed pending the
 8                completion of the arbitration;
 9          3.    WHEREFORE, Plaintiff and HDCC, through counsel, have requested that
10                the Court enter an order consistent with the terms of their Stipulation,
11                staying the Action pending the completion of the arbitration of Plaintiff’s
12                claims.
13          4.    IT IS ORDERED that this Action shall be stayed and administratively
14                closed pending the completion of the parties’ arbitration. The parties shall
15                file a joint status report within 10 days after the resolution of their
16                arbitration notifying the Court whether the stay should be lifted and this
17                Action reopened.
18    IT IS SO ORDERED.
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      DATED: April 18, 2017
20                                                  DOLLY M. GEE
                                                    UNITED STATES DISTRICT JUDGE
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